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Case 2:02-cr-20146-SH|\/| Document 146 Filed 09/01/05 Page 1 of 2 Page|D :KO

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d_____E).(.‘¢.
IN THE UNI'I‘ED STA'I'ES DISTRICT COURT F“'ED BY "'“‘

FOR THE wEsTERN DISTRICT oF TENNESSEE ,
WESTERN DIVISION 05 SEP -l PH 5- 08

 

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UNITED STATES oF AMERICA, W;g@,n; .,L.,,§PH\S

VS. NO. 02-20146-Ma

EULIBES CRUZ,

Defendant.

 

ORDER RESETTING RE-SENTENCING DATE

 

Before the court is the defendant's August 29, 2005, motion
to reset the reesentencing of Eulibes Cruz, which is presently
set for September l, 2005. For good cause Shown, the motion is
granted. The sentencing of defendant Eulibes Cruz is reset to
Tuesday, October 4, 2005, at 9:00 a.m.

It is So ORDERED this 3",|' day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 146 in
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Honorable Samuel Mays
US DISTRICT COURT

